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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 CRISTINA NICHOLE IGLESIAS                 )
 (a.k.a. Cristian Noel Iglesias),          )
                                           )
                             Plaintiff,    )
                                           )   Case No. 19-cv-00415-RJN
                     v.                    )
                                           )
 IAN CONNORS, et al.,                      )
                                           )
                             Defendants.   )

                          DEFENDANTS’ MOTION TO DISMISS
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        Pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(3) and 12(b)(6), Defendants the

Federal Bureau of Prisons (“BOP”), Michael Carvajal, Chris Bina, Ian Connors, Alix McLearen,

Thomas Scarantino, Dan Sproul, Dr. Jeffery Allen, and Donald Lewis, each in their official capacities

(collectively, “Defendants”), hereby move for the dismissal of Plaintiff Christina Nicole Iglesias’

Second Amended Complaint.

                                           INTRODUCTION

        Plaintiff Cristina Iglesias, a transgender inmate, has filed a three-count complaint against BOP

and certain federal officials in their official capacity. Plaintiff alleges that the failure to place her in a

women’s facility violates her Fifth and Eighth Amendment rights and exposes her to an unreasonable

risk of danger from male inmates. She further claims that BOP’s determination that permanent hair

removal and gender-affirming surgery are not appropriate at this juncture violates her Eighth

Amendment rights. Plaintiff seeks to enjoin Defendants to require that she be evaluated by medical

personnel qualified to treat her medical condition of gender dysphoria; protected from the risk of

harm she allegedly faces in a men’s facility; and provided with permanent hair removal and gender-

affirming surgery.

        Plaintiff’s operative complaint is deficient for a number of reasons. First, venue is improper

in this district. Plaintiff’s sole basis for contending that venue is proper is the assertion that the majority

of the events giving rise to this action occurred in the district. But Plaintiff cannot establish that any

of the events giving rise to this action occurred in this district, let alone a substantial part as required

by 28 U.S.C. § 1391(b)(2). Plaintiff’s only allegation concerning events occurring in this district is that

she made one of her multiple requests for gender-affirming surgery while incarcerated at USP Marion

and that the request had not been granted. However, when Plaintiff filed her operative pleading, the

Second Amended Complaint, she was incarcerated at the Fort Dix Federal Correctional Institution in




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New Jersey (“FCI Fort Dix”). Even if venue were proper here, the Court should transfer the case to

the U.S. District Court for the District of Columbia for the convenience of the parties.

        Second, Plaintiff’s claims against the individual defendants in their official capacity should be

dismissed as redundant. As the Seventh Circuit has recognized, official-capacity claims are claims

against the government. And, in dismissing her claims against the individual defendants in their

individual capacity, Plaintiff acknowledged that BOP is capable of providing all the relief that she has

requested. Dismissal of the individual defendants is therefore warranted.

        Third, this Court lacks jurisdiction over Counts II and III of Plaintiff’s Second Amended

Complaint, which concern claims for placement in a women’s facility and the alleged harm she

experienced from male inmates while in a men’s facility. Whether viewed under the standing or

mootness doctrines, there is no Article III “Case or Controversy” concerning Plaintiff’s placement in

a women’s facility that may be redressed by an order of the Court. Before Plaintiff filed the operative

complaint, Defendants made the decision to transfer her to a women’s facility. That decision was

made in good faith, and there is no reason to conclude that Defendants will transfer her back to a

men’s facility in the absence of legitimate safety and security concerns. This is particularly true where

Plaintiff will be eligible for placement in a Residential Reentry Center (halfway house) in five months.

Accordingly, the Court should dismiss Counts II and III for lack of jurisdiction.

        Finally, Plaintiff has failed to state plausible Eighth Amendment claims based on her requests

for permanent hair removal or gender-affirming surgery. Plaintiff alleges in her complaint that

Defendants have ignored her serious medical need for permanent hair removal. But Plaintiff

acknowledges in her complaint that she failed to provide any medical support to BOP in support of

her request. Accordingly, Plaintiff has failed to plead a plausible Eighth Amendment violation based

on the denial of permanent hair removal, as she failed to allege deliberate indifference to a serious

medical need.


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         Similarly, Plaintiff has failed to allege a plausible Eighth Amendment claim regarding gender-

affirming surgery. Plaintiff’s complaint acknowledges that BOP’s experts considered her request and

made the judgment that gender-affirming surgery was not yet appropriate given the instability of her

hormone levels and her then-lack of suitability for transfer to a women’s facility. While Plaintiff may

disagree with that judgment, under Seventh Circuit precedent, such disagreement does not amount to

deliberate indifference sufficient to support a plausible Eighth Amendment claim.

    I.       BACKGROUND

         A. Factual Background

         Plaintiff is a transgender woman currently in the custody of the Federal Bureau of Prisons at

the Carswell Federal Medical Center (“FMC Carswell”), a women’s facility located in Fort Worth,

Texas. Plaintiffs’ Second Amended Complaint (“2d Am. Compl.”) at ¶ 1, ECF No. 106; Declaration

of Alison Leukefeld (“Leukefeld Decl.”) at ¶ 6. 1 Plaintiff entered BOP custody in 1994, where she was

soon diagnosed with gender identity disorder. 2d Am. Compl. ¶ 32. In 2015, BOP’s Chief Psychologist

changed her diagnosis to gender dysphoria to reflect the updated diagnosis in the DSM-V. Id. Plaintiff

alleges that BOP medical staff then approved her to begin hormone therapy and that she is permitted

to wear bras and women’s underwear and to use make up and female grooming items when they are

available to her. Id. at ¶¶ 34-35.

         Plaintiff contends that, since 2016, she has made numerous formal and informal requests for

gender-affirming surgery. Id. ¶ 40. BOP records indicate that Plaintiff has made formal administrative




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  District courts may consider facts outside the complaint in deciding a motion to dismiss for
improper venue or lack of standing without converting the motion into one for summary
judgement. Bazile v. Fin. Sys. of Green Bay, Inc., 983 F.3d 274, 277 (7th Cir. 2020) (lack of standing);
Faulkenberg v. CB Tax Franchise Sys., LP, 637 F.3d 801, 809–10 (7th Cir. 2011) (improper venue). The
court also may consider “documents . . . attached to the complaint, documents . . . central to the
complaint, and . . . refer to in it, and information that is properly subject to judicial notice.” Amin
Ijbara Equity Corp. v. Vill. of Oak Lawn, 860 F.3d 489, 493 n. 2 (7th Cir. 2017) (quotation omitted).
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remedy requests while housed in facilities in New Jersey, North Carolina, Maryland, Illinois, and

Kentucky. Leukefeld Decl.¶ 5 & Att. 1. Plaintiff’s most recent request, made while she was

incarcerated in the Federal Medical Center at Lexington, Kentucky (“FMC Lexington”), occurred in

March 2020. Id. In response, Defendants explained that Plaintiff was not yet a suitable candidate for

surgery. ECF No. 110-1 at 6. BOP considers approving an inmate for gender-affirming surgery “after

real life experience in [the inmate’s] preferred gender.” Id. For a transgender inmate, that real life

experience includes living in a women’s facility. Id. Defendants then explained that it considered the

various factors in deciding whether to place Plaintiff in a women’s facility, including: (1) her “health

and safety, [her] behavioral history, [her] overall demeanor, and [her] likely interactions with other

inmates;” (2) “whether placement would threaten the management and security of the institution

and/or pose a risk to other inmates in the institution;” and (3) “whether there has been significant

progress towards transition as demonstrated by [the inmate’s] medical and mental health history.” Id.

Defendants also reviewed her most recent laboratory results, which showed that Plaintiff’s hormone

levels had not maximized and stabilized. Id. Accordingly, Defendants concluded in March 2020 that,

after consideration and review, her then-current designated facility—FMC Lexington—was

appropriate. Id.

        Plaintiff also has requested permanent hair removal from the BOP. 2d Am. Compl. ¶¶ 59, 60.

BOP responded to her request on April 6, 2018, and explained that Plaintiff had not reported any

major emotional or environmental problems during her last encounter with Psychological Services

and that her clinical provider had not indicated the need for hair removal as part of her treatment for

gender dysphoria. Id .¶ 60.

        Plaintiff alleges that she has been subjected to “extensive sexual abuse, physical abuse, and

harassment by BOP staff and other prisoners” while in male prisons, and that she has made

“numerous requests to BOP staff to be transferred to a women’s facility in order to avoid further

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harm.” 2d Am. Compl. at ¶¶ 49-58; 83-84. Plaintiff contends that “[t]ransferring Ms. Iglesias to [a]

women’s facility would reduce the serious risk of physical and sexual violence she faces every day that

she is in a men’s prison.” Id. at ¶ 92. On April 20, 2021,BOP’s Transgender Executive Council

(“TEC”)—which is located in Washington, D.C.—recommended Plaintiff’s transfer to a women’s

facility. Leukefeld Decl. ¶¶ 2, 3. The Designation and Sentence Computation Center approved the

TEC’s recommendation on April 27, 2021. ECF No. 111. On May 25, 2021, Plaintiff arrived at FMC

Carswell, a female BOP facility located in Fort Worth, Texas. Id.

       B. Procedural History of this Case

       Plaintiff, then an inmate at United States Penitentiary, Marion (“USP Marion”), filed a pro se

complaint in this case on April 12, 2019. ECF No. 1. While that complaint was pending, the Court

assigned counsel to Plaintiff and dismissed the pro se complaint without prejudice on mootness

grounds. ECF No. 40. Plaintiff was housed at FMC Lexington when she filed her First Amended

Complaint (“Amended Complaint”), ECF No. 52, on September 8, 2020. Id. ¶ 5. The Amended

Complaint asserted three counts—an Eighth Amendment claim for failure to provide adequate

medical care for Plaintiff’s gender dysphoria, id. ¶¶ 94-100, a Fifth Amendment equal protection claim

based on her placement in a male prison facility, id. ¶¶ 101-109, and an Eighth Amendment claim

alleging a failure to protect her from serious harm, id. ¶¶ 110-114. Pursuant to 28 U.S.C. § 1915A(b),

the Court screened the Amended Complaint for merit, allowing claims against only certain individual

defendants to proceed. ECF No. 70.

       Plaintiff sought reconsideration of the Court’s screening order, ECF No. 74, but did not wait

for the Court to resolve that motion before moving for leave to file a second amended complaint,

ECF Nos. 85, 85-1. The proposed pleading (“Second Amended Complaint”), filed while Plaintiff was

housed at FCI Fort Dix in New Jersey, alleged the same claims as the Amended Complaint, with some

modifications to the parties against whom the claims were asserted. Compare Am. Compl., with 2d Am.

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Compl. On April 23, 2021, the Court granted Plaintiff’s motion for leave to file the Second Amended

Complaint, which Plaintiff filed on April 30, 2021. ECF No. 116 at 4. On June 17, 2021, the Court

conducted its preliminary review of the Second Amended Complaint pursuant to 28 U.S.C. § 1915A,

and permitted the same three claims to proceed that it had previously permitted with respect to the

Amended Complaint, with some substitutions for different defendants. Id. at 5-6.

         Before filing the Second Amended Complaint, Plaintiff moved for a preliminary injunction

based on a subset of the claims asserted in the Amended Complaint. See Pl.’s Mot. & Mem. in Supp.

of Prelim. Inj. (“Motion”) at 10-16, ECF No. 93. That motion is fully briefed, and the Court has

scheduled a hearing on the Motion for July 28, 2021. ECF No. 121.

         Before Plaintiff filed the Second Amended Complaint, BOP decided to transfer her to a

women’s facility, ECF No. 103, and she currently resides at FMC Carswell, a women’s prison in Fort

Worth, Texas. ECF No. 111.

                                              ARGUMENT

    I.       STANDARD OF REVIEW

         “To survive a motion seeking dismissal under Rule 12(b)(1), a plaintiff must ‘clearly allege facts

demonstrating each element’ required to establish [s]he has standing.” Hanysek v. FCA US LLC, No.

18-cv-509-NJR-GCS, 2019 WL 1239265, at *3 (S.D. Ill. Mar. 18, 2019) (Rosenstengel, J.) (citation

omitted). Plaintiff bears the burden of establishing jurisdiction. Id.; Friends of the Earth, Inc. v. Laidlaw

Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000). To establish standing, Plaintiff must show that:

“(1) [she is] under threat of an actual and imminent injury in fact; (2) there is a causal relation between

that injury and the conduct to be enjoined; and (3) it is likely, rather than speculative or hypothetical,

that a favorable judicial decision will prevent or redress that injury.” Schirmer v. Nagode, 621 F.3d 581,

585 (7th Cir. 2010); see Los Angeles v. Lyons, 461 U.S. 95, 105-06 (1983). When, as in this lawsuit, “a

plaintiff files a complaint in federal court and then voluntarily amends the complaint, courts look to


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the amended complaint to determine jurisdiction.” Rockwell Int’l Corp. v. United States, 549 U.S. 457,

473-74 (2007); Wellness Cmty.-Nat’l v. Wellness House, 70 F.3d 46, 49 (7th Cir. 1995) (“Thus, our

jurisdictional inquiry must proceed on the basis of the First Amended Complaint, not the original

one.”). In addition, “[b]ecause an injunction is a forward-looking remedy, a plaintiff seeking this form

of relief has standing to sue for an alleged future injury only if the threatened injury is certainly

impending, or there is a substantial risk that the harm will occur.” Swanigan v. City of Chicago, 881 F.3d

577, 583 (7th Cir. 2018) (quotations omitted) (cleaned up).

        Rule 12(b)(3) requires dismissal where venue is “wrong” or “improper.” Atl. Marine Const. Co.,

Inc. v. U.S. Dist. Ct. for W. Dist. of Tex., 571 U.S. 49, 55 (2013). Plaintiff bears the burden of proving

that venue is proper. United Ironworkers, Inc. v. Travelers Prop. Cas. Co. of Am., No. 3:18-CV-533-NJR-

DGW, 2019 WL 77334, at *4 (S.D. Ill. Jan. 2, 2019) (Rosenstengel, J.). If venue is improper, the Court

“shall dismiss [the case], or if it be in the interest of justice, transfer such case to any district or division

in which it could have been brought.” United States ex rel. Hedley v. ABHE & Svoboda, Inc., No. 11-CV-

0348-NJR-DGW, 2014 WL 12740150, at *3 (S.D. Ill. Sept. 16, 2014) (Rosenstegnel, J.) (quoting 28

U.S.C. § 1406(a)).

        To survive a motion to dismiss under Rule 12(b)(6), a plaintiff’s complaint must contain

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). This “plausibility” standard “asks for more than a sheer possibility that a defendant

has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Where a complaint pleads facts that

are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and

plausibility of entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557). While the Court accepts

well-pleaded factual allegations as true, “mere conclusory statements” and “legal conclusion[s]

couched as . . . factual allegation[s]” are “disentitle[d to] the presumption of truth.” Id. at 678, 681

(citation omitted). Although under Rule 12(b)(6) the Court generally may not rely on material outside

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the pleadings, it may consider materials incorporated into the complaint by reference, as well as

judicially noticeable materials, without converting the motion into one for summary judgment. United

States v. Wood, 925 F.2d 1580, 1582 (7th Cir. 1991).

       II.      VENUE IS IMPROPER IN THIS DISTRICT.

              Plaintiff cannot meet her “burden of establishing that venue is proper” in this Court. Graves v.

    Pikulski, 115 F. Supp. 2d 931, 934 (S.D. Ill. 2000). Because Plaintiff pleads that venue is appropriate

    based on “events giving rise to this action,” 2 2d Am. Compl. ¶ 4, she must demonstrate that “a

    substantial part of the events or omissions giving rise to [her] claim occurred” in this district, 28 U.S.C.

    §1391(e)(1)(B). She cannot meet this burden.

              “District courts within the Seventh Circuit consistently follow the general rule that venue is

    determined at the time an action commences.” Schneider v. Brennan, No. 15-CV-263-JDP, 2016 WL

    29642, at *2 (W.D. Wis. Jan. 4, 2016) (collecting cases). “An amended complaint supersedes and

    replaces the original complaint, rendering the original complaint void.” Smith v. Bond Cnty. Jail, 17-cv-

    006-JPG, 2017 WL 446967, at *5 (S.D. Ill. Feb. 2, 2017). Thus, when there is an amended complaint,

    the determination of venue is made at the time of the filing of the operative complaint. Cf. Magee v.

    McDonald's Corp., No. 16 C 5652, 2017 WL 11178816, at *3 (N.D. Ill. Feb. 15, 2017) (standing

    determined at time of filing of operative, not original, complaint).

             Plaintiff’s Second Amended Complaint seeks “only declaratory and injunctive relief” to remedy

a purported “ongoing and significant harm” resulting from allegedly “being denied medically necessary

treatment for her gender dysphoria . . . [and] refus[ing] her requests to be transferred to a women’s



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  In the same paragraph, Plaintiff states that “Defendants are subject to personal jurisdiction in this
district.” 2d Am. Compl. ¶ 4. Not only does Plaintiff fail to offer any allegations in support of this
assertion, see Dudnikov v. Chalk & Vermillion Fine Arts, Inc., 514 F.3d 1063, 1070 (10th Cir. 2008)
(non-conclusory, non-speculative allegations required to plead personal jurisdiction), but it is not an
independent basis for venue, see 28 U.S.C. §§ 1391(b)(2), (e)(1).

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 prison.” 2d Am. Compl. ¶¶ 1; 3. In such cases, “[i]t seems abundantly clear that the ‘events and

 omissions’ relevant to this case took place predominantly at [the federal prison where plaintiff is

 incarcerated], and that the proper venue for this case under § 1391(b) was . . . where the prison is

 located.” Cameron v. Thornburgh, 983 F.2d 253, 257 (D.C. Cir. 1993) (addressing venue in a prisoner’s

 claim for failure to provide medical treatment). At the time of filing, Plaintiff was incarcerated at FCI

 Fort Dix in New Jersey. 2d Am. Compl. ¶ 5. All of Plaintiff’s requests for transfer to a women’s facility

 as well as her requests for various medical treatments were considered by the TEC in Washington, DC.,

 which formulated recommendations to address Plaintiff’s gender dysphoria. Leukefeld Decl. ¶ 2. BOP

 personnel at Fort Dix would then be responsible for providing medical care and/or for requesting a

 transfer for Plaintiff. Id. ¶ 6. The order for a transfer was approved by the Designation and Sentence

 Computation Center in Grand Prairie, Texas. Id. None of the operative acts or omissions in the Second

 Amended Complaint occurred in the Southern District of Illinois, much less the “substantial part of the

 events or omissions giving rise to [her] claim occurred” necessary for venue to be proper. 28 U.S.C.

 § 1391(e)(1)(B). This case should therefore be dismissed for improper venue.

         Plaintiff’s contrary argument that her incarceration at USP Marion was a “historical predicate”

 of her claim and thus sufficient to confer venue is unavailing. ECF No. 107 at 2 (quoting Hedley, 2014

 WL 12740150, at *7). For events to be sufficient to establish venue “the events or omissions must have

 more than ‘some tangential connection’ to the chosen venue.” Brunswick Corp. v. Thorsell, No. 13 C 9222,

 2014 WL 1612668, at *2 (N.D. Ill. Apr. 21, 2014) (citation omitted)); see Johnson v. Creighton Univ., 114 F.

 Supp. 3d 688, 696 (N.D. Ill. 2015) (historical predicate must “have a ‘close nexus’ to [plaintiff’s] claim”

 to be substantial (citation omitted)). A historical predicate sufficient to stablish venue must be an event

 that is part of a necessary element of a claim, even if that element of the claim is not in dispute. See Uffner

 v. La Reunion Francaise, S.A., 244 F.3d 38, 32-43 (1st Cir. 2001) (contrasting the “historical predicate” of

 a claim with the primary “point of dispute between the parties” and holding the former can be enough

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 for venue to be proper); 3 see also Hanyuan Dong v. Garcia, 553 F. Supp. 2d 962, 965 (N.D. Ill. 2008)

 (rejecting historical predicate argument based on location of post-tort injuries because “[t]he tort did not

 occur within the district”). Because Plaintiff’s past requests for gender affirming surgery do not establish

 any necessary element of the claims in the Second Amended Complaint, they do not constitute the

 historical predicates for those claims and are insufficient to establish venue. Dismissal is therefore

 appropriate under Federal Rule of Civil Procedure 12(b)(3).

     III.       IN THE ALTERNATIVE, THE COURT SHOULD TRANSFER THIS CASE
                IN THE INTEREST OF JUSTICE AND FOR THE CONVENIENCE OF
                THE PARTIES AND WITNESSES

            In the event the Court does not dismiss this case for improper venue, the Court should

 transfer it. Under 28 U.S.C. § 1406(a), “[t]he district court of a district in which is filed a case laying

 venue in the wrong division or district shall dismiss, or if it be in the interest of justice, transfer such

 case to any district or division in which it could have been brought.” This applies because, as

 explained above, Plaintiff has filed in the wrong court. Under 28 U.S.C. § 1404(a), “[f]or the

 convenience of parties and witnesses, in the interest of justice, a district court may transfer any civil

 action to any other district . . . where it might have been brought . . . .” The District of Columbia

 would be more convenient for the parties and witnesses and venue would have been appropriate

 there in the first instance.

            The only acts or omissions that constitute a substantial portion of the claims in the Second

 Amended Complaint, and thus establish proper venue in a district, are the conditions of Plaintiff’s

 confinement at FCI Fort Dix in New Jersey and the TEC’s consideration of her requests for medical



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   Defendants cite to the First Circuit’s decision in Uffner because all the district court decisions in this
 Circuit concerning historical predicate as a basis for venue are traceable to adoption of Uffner’s venue
 analysis being adopted by the district courts in Master Tech Products, Inc. v. Smith, 181 F. Supp. 2d 910,
 914 (N.D. Ill. 2002), and Estate of Moore v. Dixon, 460 F. Supp. 2d 931, 936 (E.D. Wisc. 2006). See,
 e.g., Hedley, 2014 WL 12740150, at *5 (citing Estate of Moore); Garcia, 553 F. Supp. 2d at 965 (citing
 Master Tech Products).
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 care and transfer in Washington, D.C. Given that Plaintiff is no longer incarcerated at FCI Fort Dix

 and none of the likely witnesses are located there, transferring this case to New Jersey would not be

 more convenient or serve justice. Transfer to Washington, D.C., by contrast, would further both

 those goals. The individuals with the most knowledge about BOP’s decision-making concerning

 Plaintiff’s requests for medical treatments for her gender dysphoria and for transfer would be the

 members of the TEC who considered those requests. Given that the TEC meets in Washington,

 D.C., it would be far more convenient for them to appear in the U.S. District Court for the District

 of Columbia than in this Court. It would similarly be more convenient for Defendants, given that

 BOP officials and counsel for Defendants are also located in that district. Finally, any injunctive

 relief would be directed at BOP, which is headquartered there. Thus, if the Court opts not to dismiss

 this case for improper venue, transfer to the District for the District of Columbia is appropriate

 under either 28 U.S.C. § 1404(a) or § 1406(a).

     IV.      PLAINTIFF’S CLAIMS AGAINST INDIVIDUAL BOP EMPLOYEES IN
              THEIR OFFICIAL CAPACITY SHOULD BE DISMISSED.

           In addition to raising Eighth Amendment claims against BOP for injunctive relief, Plaintiff

 also has asserted identical claims seeking identical relief against a number of BOP employees in their

 official capacity. As the Seventh Circuit has held, an official capacity claim “is a claim against [the

 individual’s] office, for which his employer . . . would be liable, [and] it is no different than [the

 plaintiff’s] claim against the [employer] itself.” Thanongsinh v. Bd. of Educ., 462 F.3d 762, 771 n.7 (7th

 Cir. 2006); see Jungels v. Pierce, 825 F.2d 1127, 1129 (7th Cir. 1987) (“[N]othing was added by suing the

 [government official] in his official capacity.”).

           Plaintiff acknowledges in her complaint that BOP “is the federal agency responsible for the

 incarceration of adult prisoners sentenced by the federal courts,” and that it is “responsible for Ms.

 Iglesias’s medical treatment.” 2d Am. Compl. ¶ 6. Indeed, the Parties have stipulated that “BOP is

 capable of providing all of the relief Plaintiff seeks in her Second Amended Complaint[.]” Joint

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 Stipulation to Dismiss Certain Claims, ECF No. 114. Given that Plaintiff can obtain any appropriate

 injunctive relief directly against BOP, the inclusion of official capacity claims against federal officials

 seeking the identical injunctive relief is inappropriate. Under these circumstances, such claims are

 “properly dismissed by the district court.” Thanongsinh, 462 F.3d at 772 n.7 (affirming dismissal of

 official capacity claim against official because it was duplicative of claim against the school district);

 Kielbasa v. EPA, No. 02-C-4223, 2003 WL 880995, at *3 (N.D. Ill. Mar. 2, 2003) (dismissing with

 prejudice official capacity claims against individual defendants when the federal agency was the

 proper defendant). Accordingly, the Court should dismiss the official capacity claims against

 Carvajal, Bina, Connors, McLearen, Scarantino, Sproul, Allen, and Lewis.

       V.       THE COURT LACKS JURISDICTION OVER HER SECOND AND THIRD
                CLAIMS FOR RELIEF.

            A. Plaintiff Lacks Standing To Pursue the Relief Sought In Counts Two And Three
               of the Amended Complaint

            Plaintiff alleges in her second claim for relief that the denial of her placement in a women’s

 facility violates her Fifth Amendment equal protection rights. 2d Am. Compl. ¶¶ 102-110. Plaintiff

 further alleges in her third claim for relief that Defendants “have been and continue to be

 deliberately indifferent to the known and substantial risk of serious harm Ms. Iglesias faces from

 both prison staff and other incarcerated persons as a transgender woman in a men’s prison.” Id.

 ¶ 113. Plaintiff seeks injunctions requiring that she be housed at an institution consistent with her

 gender identity and protection from “the known and serious risks of harm she continues to face

 while housed in a men’s prison.” Id., Prayer for Relief, (c)-(d).

            Before Plaintiff filed her Second Amended Complaint on April 30, Defendants already had

 decided to transfer her to a women’s facility and had notified Plaintiff and the Court of this

 development. See ECF Nos. 103, 103-1. 4 Accordingly, because Plaintiff’s standing to sue is based on


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     Plaintiff was transferred to FMC Carswell, a female BOP facility, on May 24, 2021. ECF No. 111.
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 the operative complaint, Rockwell Int’l Corp., 549 U.S. at 473-74; Wellness Community-National, 70 F.3d

 at 49, and because the decision to transfer Plaintiff to a women’s facility was made before the filing

 of her Second Amended Complaint, Plaintiff lacks an injury that can be redressed by an order of the

 Court. Plaintiff has thus failed to meet her burden of establishing subject matter jurisdiction over her

 second and third claims for relief.

         B. Alternatively, Counts Two and Three of Plaintiff’s Amended Complaint Are
            Moot.

         Even if the Court were to analyze these claims under mootness instead of standing, dismissal

 is still appropriate. Article III’s narrow limits on federal court jurisdiction are “founded in concern

 about the proper—and properly limited—role of the courts in a democratic society.” Warth v. Seldin,

 422 U.S. 490, 498 (1975). Because Article III courts exist to resolve concrete “cases” and

 “controversies,” U.S. Const. art. III, sec. 2, if at any point during the course of litigation a plaintiff

 ceases satisfying Article III standing requirements, “the action can no longer proceed and must be

 dismissed as moot.” Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 72 (2013). Here, Plaintiff seeks

 only prospective relief, which means that her claim is moot if she does not challenge a decision that

 is currently in effect. See, e.g., Lyons, 461 U.S. at 105.

         In this case, the sole relief Plaintiff seeks with regard to Counts Two and Three of her Second

 Amended Complaint is an injunction requiring her placement in a women’s facility. 2d Am. Compl.,

 Prayer for Relief, (c)-(d). But it is undisputed that Defendants already have provided her the precise

 relief requested—placement in a women’s facility. See ECF No. 111. As a result, it is “impossible for

 [the] court to grant any effectual relief” beyond what Defendants have already done, see Chafin v. Chafin,

 568 U.S. 165, 172 (2013), and Counts Two and Three are therefore moot.

         Plaintiff contends these claims are not moot under the “voluntary cessation” exception to

 mootness because she could be transferred back to a men’s facility in the future. ECF No. 107 at 6-7.

 Under that doctrine, the voluntary cessation of allegedly unlawful conduct moots a case only where

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 “(1) there is no reasonable expectation that the alleged violation will recur, and (2) interim relief or

 events have completely and irrevocably eradicated the effects of the alleged violation.” Nat’l Black

 Police Ass’n v. Dist. of Columbia, 108 F.3d 346, 349 (D.C. Cir. 1997) (quoting Cty. of Los Angeles v Davis,

 440 U.S. 625, 631 (1979)).

         While it is the burden of a party asserting mootness to demonstrate that the conduct cannot

 be expected to recur, see, e.g., United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953), that is a

 significantly easier showing for a governmental defendant to make. Ragsdale v. Turnlock, 841 F.2d 1358,

 1365 (7th Cir. 1988) (“[C]essation of the allegedly illegal conduct by government officials has been

 treated with more solicitude by the courts than similar action by private parties.”). As the Seventh

 Circuit has held, voluntary cessation principles do not apply in the same manner when the government

 is the defendant where the government’s actions “appear genuine.” Fed’n of Advert. Indus. Representatives,

 Inc. v. Chicago, 326 F.3d 924, 929 (7th Cir. 2003) (quoting Manguson v. City of Hickory Hills, 933 F.2d 562,

 565 (7th Cir. 1991)). 5

         Defendants’ decision to transfer Plaintiff to a female institution suffices to show that there is

 no reasonable expectation of Defendants changing their mind and placing her in a male institution in

 the future. Indeed, Defendants have made clear that it “[i]n recommending Iglesias be housed at a

 women’s facility, it was the TEC’s intention that her placement at a female facility continue, so long

 as it is consistent with BOP policy” concerning inmate housing. Leukefeld Decl. ¶ 8; see Citizens for

 Responsibility & Ethics in Wash. v. Wheeler, 352 F. Supp. 3d 1, 14 (D.D.C. 2019) (holding that EPA’s



 5
   Other courts of appeals are in accord. See Sossman v. Texas, 560 F.3d 316, 325 (5th Cir. 2009), aff’d
 sub nom., 563 U.S. 277 (2011) (“Without evidence to the contrary, we assume that formally
 announced changes to official governmental policy are not mere litigating posturing.”); see also, e.g.,
 Brown v. Buhman, 822 F.3d 1151, 1167-69 (10th Cir. 2016) (government action “provides a secure
 foundation for mootness so long as it seems genuine.”) (citation omitted); Troiano v. Supervisor of
 Elections, 382 F.3d 1276, 1283 (11th Cir. 2004) (“[W]hen the defendant is not a private citizen but a
 government actor, there is a rebuttable presumption that the objectionable will not recur.” (emphasis
 in original)); Am. Cargo Transp., Inc. v. United States, 625 F.3d 1176, 1179 (9th Cir. 2010).
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 affirmation in a declaration “that it intends to maintain the portion of the policy that was revised to

 address the Complaint’s prior challenge” was “sufficient to carry Defendant’s burden” under the

 voluntary cessation doctrine); see Worth v. Jackson, 451 F.3d 854, 861 (D.C. Cir. 2006) (holding that

 HUD’s “unchallenged . . . affidavit” indicating that it would no longer renew the policy that the

 plaintiff challenged mooted the case “[b]ecause the Constitution nowhere licenses [courts] to rule on

 the legality of an agency policy that no longer exists and that . . . will never again exist.”). While

 speculation about future unlawful action “might be sufficient were Defendants private litigants, such

 conjecture is insufficient here, where the [defendant] is a governmental entity.” Citizens for Responsibility

 & Ethics in Wash. v. SEC, 858 F. Supp. 2d 51, 63 (D.D.C. 2012).

           Finally, to defeat mootness, any residual effects of the ceased conduct must be “curable by the

 relief demanded.” Penthouse Int’l, Ltd. v. Meese, 939 F.2d 1011, 1019 (D.C. Cir. 1991). None of the relief

 that Plaintiff requests from this Court in Counts Two and Three, however, can provide a more

 effective remedy than what Defendants have already done: placing Plaintiff in a female institution.

 Thus, Plaintiff cannot demonstrate that the “voluntary cessation” exception to mootness applies here.

     VI.       PLAINTIFF HAS FAILED TO STATE A PLAUSIBLE EIGHTH
               AMENDMENT CLAIM BASED ON THE ALLEGED DENIAL OF
               MEDICAL CARE.

           To succeed on her claims that the refusal to provide gender-affirming surgery and permanent

 hair removal violates the Eighth Amendment, Plaintiff must show two things. First, she must show

 that she is suffering from “a deprivation that is, from an objective standpoint, sufficiently serious that

 it results ‘in the denial of the minimal civilized measures of life’s necessities.’” Gray v. Hardy, 826 F.3d

 1000, 1005 (7th Cir. 2016) (quoting Farmer v. Brennan, 511 U.S. 825, 834 (1994)). That “requires more

 than a scientific and statistical inquiry into the seriousness of the potential harm and the likelihood

 that such injury to health will actually be caused”; it requires a showing that “society considers the risk

 that the prisoner complains of to be so grave that it violates contemporary standards of decency to


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 expose anyone unwillingly to such a risk.” Helling v. McKinney, 509 U.S. 25, 36 (1993). Second, plaintiff

 must show that “prison officials are deliberately indifferent to this state of affairs.” Gray, 826 F.3d at

 1005 (quoting Farmer, 511 U.S. at 834). Plaintiff cannot satisfy either requirement.

         Deliberate indifference imposes a “high hurdle,” requiring a showing “approaching a total

 unconcern for the prisoner’s welfare.” Rosario v. Brawn, 670 F.3d 816, 821 (7th Cir. 2012). More

 generally, prison officials’ conduct is judged based on “the constraints facing the official,” and managing

 a prison requires officials to balance competing interests. Wilson v. Seiter, 501 U.S. 294, 303 (1991).

         Establishing that Defendants were deliberately indifferent to Plaintiff’s serious medical needs

 requires more than showing a mere difference of opinion regarding the appropriate medical care she has

 received or mere speculation about the medical care she might yet receive. Estelle v. Gamble, 429 U.S. 97,

 104-05, 107 (1976). “Absent exceptional circumstances, an inmate’s disagreement with medical personnel

 with respect to a course of treatment is insufficient to state a cognizable constitutional claim, much less

 to demonstrate deliberate indifference.” Brown v. Wilson, No. 3:13CV599, 2015 WL 3885984, *5 (E.D. Va.

 Jun. 23, 2015) (citing Wright v. Collins, 766 F.2d 841, 849 (4th Cir. 1985)). Allegations that are akin to run-

 of-the-mill medical malpractice claims are insufficient to maintain a viable Eighth Amendment claim.

 Estelle, 429 U.S. at 104; Farmer, 511 U.S. at 835. Courts are reluctant to second-guess medical judgments

 when prisoners, like Plaintiff, have received medical attention and subsequently dispute the adequacy of

 that medical care. Westlake v. Lucas, 537 F.2d 857, 860 n.5 (6th Cir. 1976). Instead, to establish an Eighth

 Amendment claim, Plaintiff must establish that she was subject to a cruel and unusual punishment

 because Defendants were so deliberately indifferent to her serious medical needs as to unnecessarily and

 wantonly inflict pain. Estelle, 429 U.S. at 104.

         The Supreme Court repeatedly has affirmed that the Eighth Amendment does not authorize

 courts to superintend prison officials’ decisions about how to balance competing interests within the

 constraints of the prison setting. See, e.g., Helling, 509 U.S. at 37. Prison officials act with deliberative


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 indifference in violation of the Eighth Amendment only if they “know[] of and disregard[] an excessive

 risk to inmate health or safety,” a standard that “incorporates due regard for [officials’] unenviable

 task of keeping dangerous [individuals] in safe custody under humane conditions.” Farmer, 511 U.S. at

 837, 838, 845 (quotation marks omitted). As the Seventh Circuit recently emphasized, “[c]orrectional

 administrators must have ‘substantial discretion to devise reasonable solutions to the problems they

 face,’” and courts must give “considerable deference . . . to the judgment of prison administrators”

 about how to balance competing objectives. Mays v. Dart, 974 F.3d 810, 820-21 (7th Cir. 2020) (quoting

 Florence v. Bd. of Chosen Freeholders of Cty. of Burlington, 566 U.S. 318, 326 (2012)); see also Battista v. Clarke,

 645 F.3d 449, 453 (1st Cir. 2011). “A prison medical professional faces liability only if his course of

 treatment is ‘such a substantial departure from accepted professional judgment, practice, or standards[]

 as to demonstrate that the person responsible actually did not base the decision on such a judgment.’”

 Campbell v. Kallas, 936 F.3d 536, 545 (7th Cir. 2019) (citations omitted). Courts therefore must use

 “caution” in issuing injunctions in the prison context and may not “enmesh[]” themselves “in the

 minutiae of prison operations.” Farmer, 511 U.S. at 846-47.

                  1. BOP’s Decision Concerning Plaintiff’s Request for Gender-Affirming Surgery
                     Does Not Violate the Eighth Amendment.

         Plaintiff acknowledges that she has received care from BOP for the treatment of her gender

 dysphoria, including hormone therapy, the provision of female garments, and female grooming products

 and makeup. 2d Am. Compl. ¶¶ 34-35. She further admits that Defendants made the judgment that she

 was not eligible for gender-affirming surgery at the time she made the request in 2019 because, at that

 time, she was not suitable for transfer to a women’s facility and her hormone levels had not been

 maximized or stabilized. Id. ¶ 48. Accordingly, the legal issue presented here is a narrow one: whether

 Defendants violated the Eighth Amendment where they have provided Plaintiff medical care for her

 gender dysphoria, and where she disagrees with Defendants’ judgment that gender-affirming surgery is

 not yet appropriate for her. As the Seventh Circuit has explained, the Eighth Amendment is not violated
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 under these circumstances.

         In Campbell, 936 F.3d at 548, the Seventh Circuit held that “prisons aren’t obligated to provide

 every requested treatment once medical care begins.” Id. at 548. Rather, “[d]eciding whether to provide

 additional medical interventions—especially when the inmate’s preferred course of treatment poses

 considerable challenges to prison administration—is not the same as deciding to provide no treatment at

 all.” Id. at 549. The Seventh Circuit emphasized that “[s]urgery is ‘the last and the most considered step

 in the treatment process,’ and not all gender-dysphoric patients are surgical candidates.” Id. at 539 (citing

 WPATH standards). Accordingly, the federal courts of appeal have held that the denial of gender-

 affirming surgery does not violate the Eighth Amendment when an inmate receives other forms of

 treatment, such as hormone therapy, and an individualized determination is made that additional medical

 care is unwarranted. See Lamb v. Norwood, 899 F.3d 1159, 1163 (10th Cir. 2018) (prison officials not

 deliberately indifferent when they provided inmate counseling and hormone treatment for gender

 dysphoria and prison doctor stated that gender-affirming surgery was unnecessary). 6

         Here, Plaintiff acknowledges that she has received significant treatment for her gender dysphoria,

 including the provision of hormone therapy, mental health counseling, female undergarments, and

 makeup. 2d Am. Compl. ¶¶ 34-35. Defendants made the reasoned medical judgment that gender-

 affirming surgery was not appropriate for Plaintiff at this juncture for two reasons. First, Plaintiff had not

 lived in a gender-conforming role, including placement in a women’s facility, for twelve months since



 6
   Other federal courts of appeals are in accord. See Kosilek v. Spencer, 774 F.3d 63, 90-91 (1st Cir. 2014)
 (en banc) (holding that a prison’s decision not to provide gender affirming surgery did not violate the
 Eighth Amendment where the prison provided other treatment options and the inmate simply
 disagreed with the prison’s medical decisions); Wittkowski v. Levine, 382 F. Supp. 3d 107, 115 (D. Mass.
 2019) (applying Kosilek and rejecting claim for gender affirming surgery); Keohane v. Fla. Dep’t of Corrs.
 Sec’y, 952 F.3d 1257, 1274 (11th Cir. 2020) (holding that denial of gender affirming surgery at most
 constituted negligence and explaining that “a simple difference in medical opinion between the prison’s
 medical staff and the inmate as to the latter’s diagnosis or course of treatment [cannot] support a claim
 of cruel and unusual punishment.”).

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 being incarcerated under the custody of BOP. Id. ¶ 48. As confirmed in Defendants’ response to Plaintiff’s

 administrative request for gender-affirming surgery, such surgery “is considered after real life experience

 in your preferred gender,” which includes placement in a women’s facility. 2d Am. Compl. Ex. 3. In

 March 2020, after conducting an individualized assessment of Plaintiff’s housing Defendants concluded

 that transfer to a women’s facility was not yet appropriate. Id. Second, and relatedly, Defendants had

 concluded that Plaintiff’s placement in a women’s facility was not warranted at that time because her

 hormone levels had fallen below their goal and had not been maximized. Id. In reaching these conclusions,

 Defendants consulted with BOP’s Transgender Clinical Care Team, which is comprised of psychologists

 and medical doctors, among other BOP officials. 2d Am. Compl. ¶¶ 8, 12, 13; Ex. 2. Plaintiff may disagree

 with Defendants’ medical judgment. But such disagreement does not constitute deliberate indifference

 sufficient to establish an Eighth Amendment violation. Accordingly, Plaintiff has failed to allege a

 plausible Eighth Amendment claim for gender-affirming surgery.

                 2. Plaintiff Cannot Establish an Eighth Amendment Violation Based on Defendant’s
                    Refusal to Provide Hair Removal.

         Plaintiff has failed to allege a plausible Eighth Amendment claim based on the denial of

 permanent hair removal because the Eighth Amendment does not mandate that prisoners receive

 cosmetic hair removal. As the Seventh Circuit has explained in reviewing claims for electrolysis, “our

 cases offer no indication that denying arguably nonmedical cosmetic accommodations violates the

 Eighth Amendment.” Campbell, 936 F.3d at 549. Courts have rejected Eighth Amendment claims for

 hair removal in the absence of evidence that the procedure was medically necessary. Murillo v. Godfrey,

 No. 2:18-cv-02342, 2020 WL 1139811, *14 (C.D. Cal. Mar. 9, 2020) (denying Eighth Amendment

 claim by transgender inmate for hair removal where inmate alleged that her “facial hair was torture”

 but failed to provide any evidence that removal was medically necessary); Renee v. Neal, 483 F. Supp.

 3d 606, 615 (N.D. Ind. 2020) (holding that denial of permanent hair removal “is not a clearly

 established federal constitutional right”).
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        Here, Plaintiff alleges in her Second Amended Complaint that “Defendant Connors denied

 her appeal [for permanent hair removal] on the grounds that Ms. Iglesias did not report major

 emotional or environmental problems during her last encounter with Psychological Services and that

 her clinical provider had not indicated the need for hair removal as part of her treatment for gender

 dysphoria.” 2d Am. Compl., ¶ 60. Under these circumstances, Plaintiff has failed to allege facts

 sufficient to establish an Eighth Amendment violation based on the denial of permanent hair removal

 as a medically necessary procedure.

                                          CONCLUSION

        For the foregoing reasons, Defendants’ motion to dismiss should be granted.

 Dated: July 8, 2021                           Respectfully submitted,

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